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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

NICOLETTE ASCIUTTO, as Next
Friend for JOHN ASCIUTTO
and ANTHONY ASCIUTTO II, minors;
and JOHN VACKARO as Next Friend
for MARCO VACKARO, a minor,

      Plaintiffs,                                Case No. 2022-cv-_________

v.                                               Hon. ____________________

OXFORD COMMUNITY SCHOOL
DISTRICT; SUPERINTENDENT TIMOTHY
THRONE; PRINCIPAL STEVEN WOLF;
DEAN OF STUDENTS NICHOLAS EJAK;
COUNSELOR PAM PARKER FINE;
COUNSELOR SHAWN HOPKINS;
TEACHER #1; TEACHER #2, and
TEACHER #3, in their individual capacities,

     Defendants.
________________________________/

              COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiffs NICOLETTE ASCIUTTO, as Next Friend for JOHN ASCIUTTO

and ANTHONY ASCIUTTO II, minors; and JOHN VACKARO, as Next Friend for

MARCO VACKARO, a minor, by and through their attorneys, Giroux Trial

Attorneys, P.C., state the following for their Complaint against the above-named

Defendants:




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                               INTRODUCTION

      1.    This action arises out of the mass school shooting committed by Ethan

Crumbley (“EC”) on November 30, 2021 at Oxford High School (“OHS”).

      2.    By way of their actions and conduct, Superintendent Timothy Throne,

Principal Steven Wolf, Dean of Students Nicholas Ejak, Counselor Pam Parker Fine,

Counselor Shawn Hopkins, TEACHER #1, TEACHER #2, and TEACHER #3 (“the

individual government Defendants”) made the OHS students less safe, causing them

to be subject to harm, and their conduct was reckless, deliberately indifferent and

demonstrating a substantial lack of concern for whether injury would result, and

shocks the conscience.

      3.     The policies, customs and practices of Defendant Oxford Community

School District fostered the constitutional violations alleged herein and it further

ratified the unconstitutional violations committed by the individual Defendants.

      4.    The individual government Defendants, who were mandatory reporters

under Michigan’s Child Protection Act, MCL 722.621 et seq., failed to report

suspected neglect of EC, which failure in turn foreseeably and proximately resulted

in and caused damages to Plaintiffs’ Minors for which the individual government

Defendants are civilly liable. MCL 722.633.




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                          JURISDICTION AND VENUE

      5.     This Court has federal question jurisdiction of Plaintiff’s claims

pursuant to 28 U.S.C. §§ 1331, 1343 and 1983.

      6.     Pursuant to the Court’s supplemental jurisdiction under 28 U.S.C. §

1367, it may entertain the state law claims as they are derived from a common

nucleus of operative facts.

      7.     Venue lies in the Eastern District of Michigan pursuant to 28 U.S.C.

§1391(b)(1)-(2). The Defendants all “reside” in the Southern Division of the Eastern

District of Michigan.

                                      PARTIES

      8.     At all relevant times, Plaintiff Nicolette Asciutto and her minor

children, John Asciutto and Anthony Asciutto II, for whom she is acting as Next

Friend in this litigation, were all citizen of the United States residing in the Township

of Oxford, County of Oakland, State of Michigan.

      9.     At all relevant times, Plaintiff John Vackaro and his minor child, Marco

Vackaro, for whom he is acting as Next Friend in this litigation, were both citizens

of the United States residing in the Township of Oxford, County of Oakland, State

of Michigan.

      10.    At all relevant times, Defendant Oxford Community School District

was a municipal corporation organized and carrying out its functions in the


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Township of Oxford, State of Michigan, with such functions non-exhaustively

including staffing, training, and supervising OHS’s staff, counselors and teachers.

       11.   On information and belief, at all relevant times, Defendant Timothy

Throne was acting under color of state law within the course and scope of his

employment as Superintendent of Defendant Oxford Community School District.

       12.   On information and belief, at all relevant times, Defendant Steven Wolf

was acting under color of state law within the course and scope of his employment

as a Principal for OHS within Defendant Oxford Community School District.

       13.   On information and belief, at all relevant times, Defendant Nicholas

Ejak was acting under color of state law within the course and scope of his

employment as a Dean of Students for OHS within Defendant Oxford Community

School District.

       14.   On information and belief, at all relevant times, Defendant Pam Parker

Fine was acting under color of state law within the course and scope of her

employment as a counselor for OHS within Defendant Oxford Community School

District.

       15.   On information and belief, at all relevant times, Defendant Shawn

Hopkins was acting under color of state law within the course and scope of his

employment as a counselor for OHS within Defendant Oxford Community School

District.


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       16.   At all relevant times to this lawsuit, Defendant TEACHER # 1, whose

name is unknown to the Plaintiffs as of the filing of this complaint, was acting as a

classroom teacher at OHS, within the course and scope of her employment with

OCS.

       17.   TEACHER #1 had direct contact with EC on November 29, 2021, when

EC violated multiple school policies, procedures and rules by searching on the

internet for information about ammunition for his Sig Sauer handgun used in the

fatal shootings of November 30, 2021.

       18.   At all relevant times to this lawsuit, Defendant TEACHER #2, whose

name is unknown to the Plaintiffs as of the filing of this complaint, was acting as a

classroom teacher at OHS, within the course and scope of her employment with

OCS.

       19.   TEACHER #2 had direct contact with EC on November 30, 2021, when

he caught EC violating multiple school policies, procedures, and rules by drawing

pictures of his above referenced handgun, a bullet, a person shot twice in the chest

with blood displayed and other highly concerning things while in class on a test

review paper.

       20.   TEACHER #2 had direct contact with EC on November 29, 2021, when

EC violated multiple school policies, procedures and rules by searching on the




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internet for information about ammunition for his Sig Sauer handgun used in the

fatal shootings of November 30, 2021.

      21.    TEACHER #3 had direct contact with EC on November 30, 2021, when

he/she caught EC violating multiple school policies, procedures and rules by looking

up violent videos on his phone.

                             FACTUAL ALLEGATIONS

      22.    Over the course of EC’s freshman 2020-21 school year, through

approximately June 2021, until such time as he became a sophomore and returned

to Oxford OHS in September 2021, EC exhibited concerning behavior which should

have alerted school employees and/or agents who had contact with him, that he was

suffering from significant psychiatric problems, and that he might have been subject

to neglect by his parents.

      23.    Upon information and belief, in the weeks and then days leading up to

the November 30, 2021 incident, EC acted in such a way that would lead a

reasonable observer to know and/or believe that he was planning to cause great

bodily harm to the students and/or staff at ohs.

      24.    For example, before the November 30, 2021 incident, Ethan Crumbley

posted countdowns and threats of bodily harm, including death, on his social media

accounts, warning of violent conduct and murderous ideology.




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      25.    Approximately four weeks before the shooting, a severed deer head was

brought into and left at the OHS, and the occurrence caused a level of concern and

anxiety to students, teachers and school officials at OHS.

      26.    Approximately two weeks before the shooting, on or about November

11, 2021, EC left a jar containing yellow fluid and a severed bird’s head in one of

the school bathrooms (where he subsequently commenced his mass shooting), and

its discovery increased the level of concern and anxiety experienced by students,

teachers and school officials at OHS.

      27.    On November 11, 2021, students reported to school administration

officials, including Defendant Wolf, the discovery of the jar in the boys’ bathroom

containing a severed bird head and yellow liquid.

      28.    The following day, on November 12, 2021, the OHS administration

sent an email to parents of its students indicating, “Please know that we have

reviewed every concern shared with us and investigated all information provided . .

. [w]e want our parents and students to know that there has been no threat to our

building nor our students.”

      29.    Upon information and belief, on or about November 16, 2021, multiple

parents of students provided communications to Defendant Wolf with concerns

about threats to students made on social media, and the incident of the severed

animal heads at Oxford High School, the two weeks before.


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      30.    Upon information and belief, the parents’ communications to Wolf in

part stated, “I know it’s been investigated but my kid doesn’t feel safe at school,”

"He didn’t even want to go back to school today."

      31.    Upon information and belief, that same day, November 16, 2021, Wolf

emailed parents indicating, “I know I'm being redundant here, but there is absolutely

no threat at the HS . . . large assumptions were made from a few social media posts,

then the assumptions evolved into exaggerated rumors.” It was clear from the

messages that Wolf was hearing from parents and students that these were threats

about which there were serious concerns.

      32.    Upon information and belief, Defendants Throne and Wolf reviewed

the social media posts of Crumbley prior to November 30, 2021, which threatened

Oxford High School students.

      33.    Defendants Throne and Wolf had actual knowledge of concerns about

threats from parents and students at OHS.

      34.    Defendants Throne and Wolf were aware that EC brought a severed

bird head to school and left it in the boys’ bathroom.

      35.    Upon information and belief, Defendants Throne and Wolf had

knowledge of EC’s mental disturbance and dangerous ideations.




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         36.   Despite the posts and knowledge of threats of violence, Defendant

Throne sent correspondence and emails to parents at OHS, reassuring them that their

children were safe at OHS.

         37.   Upon information and belief, following the November 16, 2021, email

exchanges and other communications from Defendant Wolf to the parents of OHS

students, Superintendent Throne warned the students, via loudspeaker, to stop

spreading information over social media and to stop relying on information on social

media, reiterating that there were no threats that posed any danger to students at

OHS.

         38.   At all relevant times, Defendant Throne, while acting as the

Superintendent of Oxford Community School District, discouraged students and

parents from reporting, sharing, or otherwise discussing the threatening social media

posts.

         39.   At all relevant times, Defendant Wolf, while acting as the Principal of

OHS, directed the teachers and counselors to tell students to stop reporting, sharing,

or otherwise discussing the threatening social media posts, and violent animal

slaughter that was occurring at OHS.

         40.   At all relevant times, EC’s Instagram and other social media accounts

were not set to private and were available to the public, including Defendants.




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      41.    At all relevant times, Defendants Throne and Wolf’s respective actions,

by advising each and every student, including Plaintiffs’ Minors that there was no

credible threat, demonstrated conduct so reckless as to demonstrate a substantial lack

of concern for whether an injury results.

      42.    At all relevant times, Plaintiffs’ Minors were safer before Defendants

Throne and Wolf respectively took action and advised each and every student,

including Plaintiffs’ Minors, that there was no credible threat. By virtue of

Defendants Throne and Wolf’s actions, they each substantially increased the harm

to Plaintiffs’ Minors.

      43.    Defendant Throne knew and/or should have known, that his

announcement to the students at OHS would discourage the students and/or their

parents from reporting credible threats of bodily harm to teachers, counselors, and

staff of OHS.

      44.    Defendant Wolf’s actions, by advising each and every student,

including Plaintiffs’ Minors, that there was no credible threat, constitutes conduct so

reckless as to demonstrate a substantial lack of concern for whether an injury results.

      45.    Defendant Wolf knew and/or should have known that his assurances

that social media threats were not credible would discourage the students and/or their

parents from reporting credible threats of bodily harm to teachers, counselors, and

staff of OHS.


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      46.    On November 26, 2021, four days before the OHS shooting, Mr.

Crumbley and EC went to a local gun dealer and purchased a Sig Saur 9mm semi-

automatic handgun.

      47.    Later that day EC posted a photo of himself with his new gun on social

media, stating “just got my new beauty today.”

      48.    The next day, on or about November 27, 2021, three days before the

OHS shooting, Mrs. Crumbley took EC to a local shooting range so that he could

fire “his” new handgun, load it with ammunition, practice shooting it, as well as

learn its other operations, including loading, reloading and firing.

      49.    On that same day, EC’s mother posted a picture on her publicly-visible

and accessible social media account stating “mom and son day testing out his new

Christmas present,” clearly referring to the 9mm handgun.

      50.    Upon information and belief, at the conclusion of the firearm practice,

EC’s handgun was readily accessible to him at all times.

      51.    Two days later, on Monday, November 29, 2021, the day before the

OHS mass shooting, EC was in the classroom of TEACHER # 1, who caught EC

looking at ammunition for his gun on the internet in violation of a variety of school,

rules, procedures and policies.

      52.    Upon information and belief, TEACHER #1 was concerned by this

behavior.


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      53.    Due to TEACHER #1’s concerns, TEACHER #1 took EC to the

counseling office, where EC was left with Counselor Pam Parker Fine, who was

informed of TEACHER #1’s observations and concerns about EC’s conduct.

      54.    Upon information and belief, Parker Fine was given a copy of a

photograph taken by TEACHER #1, showing the ammunition for EC’s gun. Parker

Fine called EC’s parents to discuss this concerning behavior, and asked that the

parents return her telephone call. Neither of EC’s parents returned the call.

      55.    Upon information and belief, in addition to the ammunition that EC

looked up on his cell phone, other students saw EC on November 29, 2021 with shell

casings and live ammunition rounds at OHS.

      56.    The ammunition research, coupled with the refusal of the EC’s parents

to respond to Parker Fine, gave her reasonable cause to suspect child neglect. Hence,

Parker Fine was required under Michigan’s Child Protection Act, MCL 722.623, et

seq., to contact Child Protective Services (“CPS”).

      57.    The risk posed by EC also required that Parker Fine notify the police,

namely the OHS liaison officer, Oakland County Deputy Jason Louwaert, that EC

posed a threat to himself and others.

      58.    TEACHER #1 and Parker Fine made a knowing and deliberate decision

not to report this information to CPS or to local law enforcement (including the OHS

liaison officer), and both violated that law by such failure to report.


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      59.   Defendants Wolf and Throne were both notified of the incident of EC

searching for ammunition on his phone.

      60.   Defendants TEACHER #1 and Parker Fine deliberately and knowingly

sent EC home after school, without any discipline or follow-up regarding his

inappropriate search for ammunition during class.

      61.   EC was not suspended pending a conference or an investigation; EC

was allowed to return to school without any prior meeting or screening; no one

searched EC the next day for ammunition or a gun; and no one contacted any police

authority. These actions assisted and perpetuated of EC’s plans, provided clearance

EC to commit a mass school shooting, and increased the risk that Plaintiffs’ Minors

would be exposed to EC’s violent acts.

      62.   The night of Monday, November 29, 2021, EC posted on his Twitter

account: “Now I am become Death, the destroyer of worlds. See you tomorrow

Oxford.”

      63.   Although EC’s Twitter account was set to private, the posting was made

to his profile biography, and readily visible to anyone who searched his name,

including Defendants.

      64.   The very next day, on Tuesday, November 30, 2021, EC returned to

OHS and went to the classroom of TEACHER #2, with the handgun and

approximately 48 rounds of ammunition in his backpack.


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      65.    The OHS students, including Plaintiffs’ Minors, were safer before

Defendants TEACHER #1 and Parker Fine knowingly and deliberately allowed the

murderous student to return to school the next day, despite the clear and present

dangers he posed to students at OHS.

      66.    At all relevant times, Defendants TEACHER #1 and Parker Fine made

a knowing, intentional, and deliberate decision to intentionally withhold and exclude

important and vital information from the school liaison officer and by allowing EC

to return to school the next day. As a result, all students were placed in immediate

danger in light of Defendants’ conduct, which accelerated and provided clearance

for EC’s plans to engage in a mass school shooting.

      67.    The actions of Defendants TEACHER #1 and Parker Fine amounted to

conduct so reckless so as to demonstrate a substantial lack of concern for whether

an injury results. Additionally, any person who was informed of EC’s behavior by

TEACHER #1 and/or Parker Fine similarly engaged in such reckless and

deliberately indifferent behavior.

      68.    On the morning of Tuesday, November 30, 2021, EC was supposed to

be doing a Chapter 5 “Test Review” while he was in math class at 8:59 AM. EC

instead drew a picture of his 9mm handgun and several other images demonstrating

that EC was mentally disturbed and quite dangerous. Immediately underneath the

image of the handgun, he wrote, “The thoughts won’t stop. Help me.” To the right


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of that, he drew a person who clearly had two gunshot wounds—one in the chest and

one in the abdomen—with blood coming from his mouth. To the right of that, he

wrote “blood everywhere,” and underneath that there is a hand-drawn bullet. In

another area of the same document, EC drew a laughing face with tears, and wrote

“My life is useless” and “The world is dead.”

      69.    These drawings and statements were plainly violent and disturbing, and

openly expressed EC’s thoughts of despair, violence, and homicidal ideation.

      70.    TEACHER #2 became so understandably alarmed in seeing these

depictions that he/she took a picture of them on the his/her cell phone and forwarded

it to counselor Shawn Hopkins.

      71.    Upon information and belief, Defendant TEACHER #2, was also aware

of a school policy of excluding backpacks in classroom, and TEACHER #2, made a

knowing and deliberate decision to leave EC’s backpack unsearched.

      72.    Defendant TEACHER #2 knowingly and affirmatively allowed the

homicidal student to continue to maintain control of his backpack, phone, and other

possessions, giving him easy access to a weapon, and this conduct was more than

reckless.

      73.    At all relevant times, the students at OHS, and in particular, Plaintiffs’

Minors, were safer before Defendant TEACHER #2 knowingly and affirmatively

allowed EC to continue to maintain control of his backpack, phone, and other


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possessions, giving him easy access to a gun, thereby increasing the risk that

Plaintiffs’ Minors would be exposed to EC’s violent acts.

      74.    At all relevant times, the students at OHS, were safer before Defendant

TEACHER #2 took action and intentionally did not report the violent notes and

drawing by EC to the school liaison officer.

      75.    Upon information and belief, that same day, TEACHER #3 saw EC

looking up violent videos that depicted a shooting. TEACHERS #2 and #3 reported

this to Counselor Shawn Hopkins.

      76.    Upon information and belief, at some point, TEACHER #2 took EC to

Counselor Shawn Hopkins’ office, but left EC’s backpack in the classroom, without

searching the backpack to ensure that it contained no weapons.

      77.    Upon information and belief, Hopkins spoke extensively with EC, who

denied that there were any problems. Hopkins then called EC’s parents and asked

them to come to school for a meeting.

      78.    Upon information and belief, TEACHER #2, Hopkins, the Dean of

Students Nicholas Ejak, and any other school employees or officials informed of the

relevant facts, clearly had enough information to know that EC was mentally

distraught, homicidal and potentially or likely armed with bullets and a gun.




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      79.    All of the Defendants who knew of the relevant facts had a duty and/or

an obligation to contact the police or other legal authority and to take steps to keep

EC from having any access, let alone unfettered access to OHS and all of its students.

      80.    Upon information and belief, EC’s backpack contained the Sig Saur

9mm semi-automatic handgun with 48 live bullets. The backpack was with EC or it

was brought to him by a school employee to the location where EC was being

interviewed by school personnel.

      81.    Ejak and Hopkins had just cause to either inspect the contents of the

backpack or to withhold the backpack from EC until proper authority could be

provided to them to inspect the backpack themselves or to have law enforcement do

so.

      82.    Not inspecting EC’s backpack and allowing him to keep it, with the gun

and ammo in it, was an essential factor in allowing EC to carry out his pre-planned

school shooting.

      83.    Defendants Hopkins and/or Ejak, and/or the other Defendants who had

learned of the relevant facts as described above, knew that EC was mentally unstable,

distraught, and likely to attempt some sort of attack using a handgun and bullets.

Indeed, he drew it for them to see.




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      84.    Hopkins, Ejak, and the other Defendants who knew the relevant facts,

knew that EC needed immediate psychiatric intervention and should not be allowed

access to the school and its students until the same could be obtained.

      85.    Shockingly, Hopkins, Ejak and the other Defendants who knew the

relevant facts allowed EC to remain in school that day.

      86.    Upon information and belief, Hopkins and/or Ejak decided that, if EC

did not obtain counseling within 48 hours through his parents’ assistance, then the

school would contact CPS. But, the action taken by Hopkins and/or Ejak was

tantamount to no action at all or to adding fuel to the fire. EC, who was clearly

mentally distraught and having homicidal ideations was at a crisis moment.

      87.    For the benefit and protection of the OHS students, and for EC’s own

good, the Defendants needed to act independently to search ECs backpack, remove

EC from the school and cause ECs parents or the state to get help for EC.

      88.    Defendants Hopkins and Ejak reasonably knew that threatening to call

CPS within 48 hours, and threatening to remove EC from his home, without actually

taking any action, would create and/or increase the likelihood that EC would act

before he lost the opportunity.

      89.    In making this demand upon EC’s parents, Defendants Hopkins and

Ejak evidenced their awareness that, at a minimum, EC was a threat to himself and

others, and that failure to address EC’s situation urgently was criminally neglect.


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         90.   After the meeting, EC was permitted to return to his classroom with his

backpack containing the Sig Saur 9mm semiautomatic handgun and 48 live bullets.

         91.   Defendants Hopkins and Ejak conducted this meeting to the exclusion

of the school safety liaison officer.

         92.   Upon information and belief, after being allowed to return to his

classroom, EC took his backpack to a school bathroom, loaded ammunition into the

9mm handgun, and commenced his mass school shooting.

         93.   He first shot a student inside the bathroom, shot at several female OHS

students in the hallway outside the bathroom, and then he turned his gun toward John

Asciutto and Marko Vackaro, who were walking down the hallway, away from the

shooter.

         94.   Noticing them, EC shot at both: he struck John Asciutto in the left

buttock and missed Mark Vackaro, who saw several bullets strike into the hallway

wall.

         95.   After being shot, John fell down in the hallway, but then quickly got up

and made it out the first set of doors to the outside where he ran away as fast as he

could.

         96.   Marko ran the opposite way of John as fast as he could until he could

exit a different set of doors.




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      97.      Once outside, standing in the snow wondering what was happening,

John noticed blood in the snow and then realized it was his blood from having been

shot through from his left buttocks out the front of his pelvis.

      98.      John and Marko saw each other outside, after which they went to

Marko’s car.

      99.      Marko Vackaro then drove John Asciutto to Crittendon Hospital in

Rochester where John’s gunshot wound was treated.

      100. Anthony Asciutto II was in an art room when he heard an

announcement over the classroom speaker that there was an active shooter at Oxford

High School.

      101. Anthony’s brother John called him, told him he had been shot and asked

if he was okay and Anthony responded that he was.

      102. The art teacher locked the doors into the art room and then Anthony

and approximately 25 other high school students and the art teacher all tightly

crowded into the windowless “glaze room” to hide from the shooter for

approximately one hour until the police arrived and took them out. During that time,

they heard someone using the handles on the art room door, trying to enter.

      103. On December 1, 2021, EC was arraigned and charged as an adult with

one count of terrorism causing death, four counts of first-degree murder, seven




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counts of assault with intent to murder, and twelve counts of possession of a firearm

in the commission of a felony.

      104. By reason of the knowledge that the individual government possessed

before the shootings began on November 30, 2021, it was foreseeable by said

Defendants that EC would carry out violent acts on the Plaintiffs’ Minors and others.

      105. The individual government defendants' affirmative actions and conduct

was reckless and put the Plaintiff’s Minors and others at substantial risk of serious

and immediate harm.

      106. The individual government defendants knew or clearly had to know that

their actions would endanger the Plaintiffs’ Minors herein and other students and

persons at Oxford High School.

      COUNT I – STATE-CREATED DANGER, 42 U.S.C. §§ 1983, 1988
            INDIVIDUAL GOVERNMENT DEFENDANTS

      107. Plaintiffs repeat each of the preceding Paragraphs’ allegations as if they

were fully set forth herein.

      108.    Plaintiffs’ Minors, as United States citizens and pursuant to the 14th

Amendment to the United States Constitution, had a clearly established right to be

free from danger created and/or increased by the individual government Defendants,

i.e., Superintendent Timothy Throne, Principal Steven Wolf, Dean of Students

Nicholas Ejak, Counselor Pam Parker Fine, Counselor Shawn Hopkins, TEACHER

#1, TEACHER #2, and TEACHER #3.

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      109. At all relevant times, the individual government Defendants were

acting under color of state law and by way of their actions and conduct created and/or

increased a state-created danger by substantially increasing the risk of harm to

Plaintiffs’ Minors in reckless disregard to their safety with regard to the risk that

they would be exposed to private acts of violence.

      110. These actions and conduct of the individual government Defendants

were objectively unreasonable and performed knowingly and with deliberate

indifference to thereby creating and/or increasing a state-created danger by

substantially increasing the risk of harm to Plaintiffs’ Minors in reckless disregard

to their safety with regard to the risk that they would be exposed to private acts of

violence.

      111. These actions and conduct of the individual government Defendants

deprived the Plaintiffs’ Minors of their clearly established rights, privileges, and

immunities in violation of the Fourteenth Amendment of the United States

Constitution.

      112. These actions and conduct of the individual government Defendants,

which created and/or increased the risk of harm to Plaintiffs’ Minors in reckless

disregard to their safety with regard to the risk that they would be exposed to private

acts of violence, non-exhaustively include:

         a. Deliberately and intentionally returning EC to class with a loaded Sig
            Saur 9mm semi-automatic handgun;

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       b. Deliberately deciding against involving and advising the proper police
          and other legal authorities of EC’s conduct and making a decision to
          handle the situation without proper authorities being involved;

       c. Choosing to return EC to class with a Sig Saur 9mm semi-automatic
          handgun after he had been actively searching for ammunition during
          class on the internet the day before;

       d. Deliberately deciding against searching EC’s backpack;

       e. Deciding against reporting EC’s internet search for ammunition to
          proper police and other legal authorities the day before the shooting;

       f.   Deliberately returning EC to his classroom with a Sig Saur 9mm semi-
            automatic handgun and ammunition, after confiscating a picture drawn
            by EC which demonstrated a high likelihood that he would effectuate a
            mass school shooting;

       g. Deciding to internally handle the complaints and threat of a school
          shooter in the days leading to the November 30, 2021 school shooting,
          rather than involve the proper police and/or other legal authorities;

       h. Deciding against inspecting EC’s backpack, which contained the Sig
          Saur 9mm semi-automatic handgun and ammunition used to shoot
          Plaintiffs’ Minors, and/or EC’s locker, when Defendants maintained
          custody and control over same;

       i.   Deliberately and intentionally concealing facts from the appropriate
            law enforcement and other legal authorities before returning EC to class
            where he had access to the Sig Saur 9mm semi-automatic handgun used
            to shoot, shoot at, and terrorize Plaintiffs’ Minors;

       j.   Deliberately deciding against reporting EC’s suspicious behavior to
            CPS;

       k. Deliberately deciding against reporting Ethan Crumbley’s suspicious
          behavior to appropriate law enforcement;

       l.   Interviewing EC in front of his parents, knowing that that interview
            would accelerate any planned violence, and creating a more dangerous
            situation for the students after said interview by, inter alia, providing
            clearance and the go ahead for EC to thereafter commit his violent acts;


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        m. Deliberately deciding against having appropriate mental health
           intervention for EC prior to returning him to class with a Sig Saur 9mm
           semi-automatic handgun and ammunition;

        n. Demonstrating conduct so reckless that it demonstrates a substantial
           lack of concern for whether any injury would result;

        o. Wrongfully causing Plaintiffs’ Minors to suffer extreme emotional
           distress;

        p. Recklessly, or otherwise improperly returning EC to class with the Sig
           Saur 9mm semi-automatic handgun, so that he could effectuate his
           murderous ideology;

        q. Enforced the deficient and faulty policies, procedures, and practices set
           forth in Count III, infra, as well as those previously described herein.

        r.   The failures and resulting failures of the actions set forth in the
             foregoing subparagraphs; and

        s. Any and all other breaches that may become known throughout the
           course of this litigation.

      113. The foregoing non-exhaustively described actions and conduct of the

individual government Defendants was a proximate cause of the Plaintiffs’ Minors’

injuries and damages.

      114. As to Plaintiff’s Minor, John Asciutto, those injuries and damages non-

exhaustively include:

         a. Gunshot wound to his left buttocks that exited out the front of his pelvis;

         b. Conscious pain and suffering;

         c. Need for wound care;

         d. Need for therapy and counseling;



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         e. Scarring;

         f. Fright, shock and terror;

         g. Mental, psychological and emotional distress, anxiety and anguish;

         h. Post-Traumatic Stress Disorder;

         i. Medical, hospital and therapy/counseling expenses;

         j. Punitive damages;

         k. Exemplary damages;

         l. Any and all other available past and future compensatory damages;

         m. Attorneys’ fees and costs, 42 U.S.C. § 1988;

         n. Any other injuries and damages relating to the aforedescribed incident
            that is revealed in the course of discovery;

         o. Any other damages allowed by law.

      115. As to Plaintiff’s Minor, Anthony Asciutto II, those injuries and

damages non-exhaustively include:

         a. Need for therapy and counseling;

         b. Fright, shock and terror;

         c. Mental, psychological and emotional distress, anxiety and anguish;

         d. Post-Traumatic Stress Disorder;

         e. Medical, hospital and therapy/counseling expenses;

         f. Punitive damages;

         g. Exemplary damages;

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         h. Any and all other available past and future compensatory damages;

         i. Attorneys’ fees and costs, 42 U.S.C. § 1988;

         j. Any other injuries and damages relating to the aforedescribed incident
            that is revealed in the course of discovery;

         k. Any other damages allowed by law.

      116. As to Plaintiff’s Minor, Marco Vackaro, those injuries and damages

non-exhaustively include:

         a. Need for therapy and counseling;

         b. Fright, shock and terror;

         c. Mental, psychological and emotional distress, anxiety and anguish;

         d. Post-Traumatic Stress Disorder;

         e. Medical, hospital and therapy/counseling expenses;

         f. Punitive damages;

         g. Exemplary damages;

         h. Any and all other available past and future compensatory damages;

         i. Attorneys’ fees and costs, 42 U.S.C. § 1988;

         j. Any other injuries and damages relating to the aforedescribed incident
            that is revealed in the course of discovery;

         k. Any other damages allowed by law.

      117. The individual government Defendants are not entitled to governmental

or qualified immunity for their aforedescribed actions and conduct.



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      WHEREFORE, Plaintiffs claim judgment against the individual government

Defendants in an amount to which they are found to be entitled, together with

interest, costs, attorneys’ fees, exemplary damages and punitive damages.

     COUNT II - 42 U.S.C. §§ 1983, 1988 - SUPERVISORY LIABILITY
     DEFENDANTS SUPERINTENDENT TIMOTHY THRONE AND
                     PRINCIPAL STEVEN WOLF

      118. Plaintiffs repeat each of the preceding Paragraphs’ allegations as if they

were fully set forth herein.

      119. At all relevant times, Defendant Throne was the Superintendent at

Oxford Community School District, and directly supervised and oversaw the actions

of Defendants Wolf, Counselor Pam Parker Fine; Counselor Shawn Hopkins,

TEACHER #1, TEACHER #2, TEACHER #3, and Ejak, and encouraged the

specific incident of misconduct and/or directly participated in it by not expelling,

disciplining, and providing proper supervision for EC, and/or notifying police and/or

other legal authorities of ED’s violent plans.

      120. At all relevant times, Defendant Throne, was the Superintendent at

Oxford Community School District, and directly supervised and oversaw the actions

of Defendants Wolf, Counselor Pam Parker Fine; Counselor Shawn Hopkins,

TEACHER #1, TEACHER #2, TEACHER #3, and Ejak, and encouraged the

specific incident of misconduct and/or directly participated in it by discouraging and

dismissing the reporting, sharing, or mentioning of threats against OHS.


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      121. At all relevant times, Defendant Wolf was the principal at OHS. He was

the direct supervisor and oversaw the actions of Defendants Counselor Pam Parker

Fine; Counselor Shawn Hopkins, TEACHER #1, TEACHER #2, TEACHER #3,

and Ejak, and encouraged the specific incident of misconduct and/or directly

participated in it by not expelling, disciplining, and providing proper supervision for

EC.

      122. By inadequately training and/or supervising their teachers, counselors,

and dean of students, and having a custom or policy of indifference to the

constitutional rights of their citizens, and/or by failing to adequately supervise school

shooter, EC, Defendants Throne and Wolf encouraged and cultivated the conduct

which then caused a violation of Plaintiffs’ Minors’ rights under the Fourteenth

Amendments of the United States Constitution.

      123. By not expelling, disciplining, searching, or providing proper

supervision for EC, Defendants Throne and Wolf authorized, approved, or

knowingly acquiesced in the unconstitutional conduct of Defendants Counselor Pam

Parker Fine; Counselor Shawn Hopkins, TEACHER #1, TEACHER #2, TEACHER

#3, and Ejak, by allowing EC to return to his classroom and carry out his mass school

shooting.




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      124. Pursuant to the Fourteenth Amendment of the United States

Constitution, at all relevant times, each of Plaintiffs’ Minors had a clearly established

right to be free from dangers created by the Defendants.

      125. That actions and omissions by Defendants Throne, Wolf, Counselor

Pam Parker Fine; Counselor Shawn Hopkins, TEACHER #1, TEACHER #2,

TEACHER #3, and Ejak, under the Fourteenth Amendment to the United States

Constitution, as well as 42 U.S.C. §§ 1983 and 1988 were all performed under the

color of state law and were objectively unreasonable and performed knowingly and

with deliberate indifference to Plaintiffs’ Minors and in reckless disregard to their

safety.

      126. These actions and conduct of the individual government Defendants,

which created and/or increased the risk of harm to Plaintiffs’ Minors in reckless

disregard to their safety with regard to the risk that they would be exposed to private

acts of violence, non-exhaustively include the actions/conduct already set forth in

subparagraphs (a)-(s) of ¶ 112, supra.

      127. The foregoing non-exhaustively described actions and conduct of the

individual government defendants was a proximate cause of the Plaintiffs’ Minors’

injuries and damages.




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      128. As to Plaintiff’s Minor, John Asciutto, those injuries and damages non-

exhaustively include the injuries/damages already set forth in subparagraphs (a)-(o)

of ¶ 114, supra.

      129. As to Plaintiff’s Minor, Anthony Asciutto II, those injuries and

damages non-exhaustively include the injuries/damages already set forth in

subparagraphs (a)-(k) of ¶ 115, supra.

      130. As to Plaintiff’s Minor, Marco Vackaro, those injuries and damages

non-exhaustively include the injuries/damages already set forth in subparagraphs

(a)-(k) of ¶ 116, supra.

      131. Defendants Thone and Wolf are not entitled to governmental or

qualified immunity for their aforedescribed actions and conduct.

      WHEREFORE, Plaintiffs claim judgment against the Defendants Thone and

Wolf in an amount to which they are found to be entitled, together with interest,

costs, attorneys’ fees, exemplary damages and punitive damages.

        COUNT III – 42 U.S.C. §§ 1983, 1988 – MONELL LIABILITY
        DEFENDANT OXFORD COMMUNITY SCHOOL DISTRICT

      132. Plaintiffs repeat each of the preceding Paragraphs’ allegations as if they

were fully set forth herein.

      133. At all relevant times, Defendant Oxford Community School District

failed and failed adequately to train, discipline and supervise the individual

government Defendants, i.e., Throne, Wolf, Counselor Pam Parker Fine; Counselor

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Shawn Hopkins, TEACHER #1, TEACHER #2, TEACHER #3, and Ejak,

promulgating and maintaining de facto unconstitutional customs, policies, or

practices, rendering them liable for the constitutional violations alleged herein under

Monell v. Dept. of Social Services of the City of New York, 436 U.S. 658 (1978).

      134. At all relevant times, Defendant Oxford Community School District

knew or should have known that the policies, procedures, training supervision and

discipline of the individual government Defendants were inadequate for the tasks

that each of those individual government Defendants was required to perform.

      135. At all relevant times, Defendant Oxford Community School District

failed to establish, implement, or execute adequate policies, procedures, rules and

regulations to ensure that their actions did not create or increase the risk that

Plaintiffs’ Minors would be exposed to private acts of violence.

      136. At all relevant times, Defendant Oxford Community School District

failed to establish, implement, or execute adequate policies, procedures, rules and

regulations to ensure that their teachers, counselors and staff do not take actions that

create or increase the risk of harm to district’s students at OHS, such as Plaintiffs’

Minors.

      137. At all relevant times, Defendant Oxford Community School District

was on notice or should have known of a history, custom, propensity, and pattern for

the individual government Defendants and other employees of OHS, to fail to


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properly identify a student with violent tendencies and acted in such a way that

created a risk of harm to OHS students and/or increased a risk of harm to OHS

students, such as Plaintiffs’ Minors.

      138. Defendant Oxford Community School District explicitly and implicitly

authorized, approved, or knowingly acquiesced in the deliberate indifference to the

strong likelihood that constitutional violations, such as in the instant case, would

occur, and pursued policies, practices, and customs that were a direct and proximate

cause of the deprivations of Plaintiffs’ Minors’ constitutional rights.

      139. At all relevant times, Defendant Oxford Community School District

knew that its policies, procedures, customs, propensity and patterns of supervising a

student with violent tendencies and murderous ideology, would deprive citizens,

such as Plaintiffs’ Minors, of their constitutional rights.

      140. At all relevant times, Defendant Oxford Community School District

knew that its policies, procedures, customs, propensity and patterns allowed

administrators, counselors, teachers and/or staff to return a student with violent

tendencies back to his classroom such that their actions created a risk of harm and/or

an increased risk of harm to the students at OHS before getting permission from

proper authorities.

      141. Upon information and belief, Defendant Oxford Community School

District maintained a policy that allowed administrators, counselors, teachers and/or


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staff to return a fully weaponized violent child with murderous plans, back into a

classroom, such that he could effectuate a mass school shooting.

      142. Reflexively, Defendant Oxford Community School District failed to

maintain a policy directing administrators, counselors, teachers and/or staff to

immediately remove or promptly effectuate the removal of someone who has

reasonably communicated a threat to others by way of a firearm or other deadly

weapon from school grounds.

      143. By inadequately training and/or supervising their principals and

counselors and having a custom or policy of deliberate indifference to the

constitutional rights of their citizens, Defendant Oxford Community School District

encouraged and cultivated the conduct which violated Plaintiffs’ Minors’ rights

under the Fourteenth Amendment of the United States Constitution, and provided

clearance for EC to commit his violent acts, thereby increasing the risk that

Plaintiffs’ Minors would be exposed to EC’s violent acts.

      144. The foregoing non-exhaustively described actions and conduct of

Defendant Oxford Community School District was a proximate cause of the

Plaintiffs’ Minors’ injuries and damages.

      145. As to Plaintiff’s Minor, John Asciutto, those injuries and damages non-

exhaustively include the injuries/damages already set forth in subparagraphs (a)-(o)

of ¶ 114, supra.


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      146. As to Plaintiff’s Minor, Anthony Asciutto II, those injuries and

damages non-exhaustively include the injuries/damages already set forth in

subparagraphs (a)-(k) of ¶ 115, supra.

      147. As to Plaintiff’s Minor, Marco Vackaro, those injuries and damages

non-exhaustively include the injuries/damages already set forth in subparagraphs

(a)-(k) of ¶ 116, supra.

      148. Defendant Oxford Community School District is not entitled to

governmental or qualified immunity for their aforedescribed actions and conduct.

      WHEREFORE, Plaintiffs claim judgment against Defendant Oxford

Community School District in an amount to which they are found to be entitled,

together with interest, costs, attorneys’ fees, exemplary damages and punitive

damages.

     COUNT IV – CHILD PROTECTION LAW, MCL 722.621 ET SEQ.
            INDIVIDUAL GOVERNMENT DEFENDANTS

      149. Plaintiffs repeat each of the preceding Paragraphs’ allegations as if they

were fully set forth herein.

      150. Michigan’s Child Protection Act, MCL 722.621 et seq., places upon

certain persons the obligation to report abuse and neglect that the persons reasonably

suspect may be occurring.

      151. Each and every one of the individual government Defendants was a

required reporter within the definitions set forth in the statute.

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      152. Each and every one of the individual government Defendants had

information sufficient to give them reasonable cause to suspect that EC was being

abused and/or neglected by his parents.

      153. Defendants Hopkins and Ejak, on November 30, 2021, before EC was

allowed to walk out of the meeting with them and his parents and begin his shooting

spree, knew that EC had severe mental disturbance that his parents were refusing to

address.

      154. As alleged in the common allegations, Defendants Hopkins and Ejak

knew that the situation was so serious that they threatened to contact CPS themselves

if help was not obtained for EC within 48 hours.

      155. By virtue of the fact that EC’s parents refused to take EC out of school

that day despite the specific demand on the part of Defendants Hopkins and Ejak

that they do so, Defendants Hopkins and Ejak had ample reason to suspect that action

would not be taken by the parents to obtain immediate treatment for their son.

      156. The statements made on the note and drawing found by TEACHER #2

on November 30, photographed by him/her, and made available to Defendants

Hopkins and Ejak were sufficient to indicate an unreasonable risk that EC would

harm himself and/or others.

      157. The individual government Defendants were presented with evidence

that EC had attempted to purchase ammunition online on November 29, 2021; and


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had drawn images of guns and bleeding bodies, annotated with desperate statements

about his mental state.

       158. These individual government Defendants had specific experience with

suicides among students at OHS in the preceding five years, in that there had been

at least two students who had taken their own lives among the OHS student body.

This experience heightened their awareness of the risk that EC would take his own

life and/or the lives of others.

      159. All of this information was sufficient, especially when coupled with

EC’s parents’ indifference and lack of willingness to address the matter immediately,

to cause the individual government Defendants to suspect that EC was being

neglected and that the immediate and subsequent reporting requirements set forth in

the Child Protection Law needed to be complied with.

      160. MCL 722.633 provides that a mandatory reporter who fails to report

suspected abuse or neglect is “civilly liable for the damages proximately caused by

the failure.”

       161. The failure to report by the individual government Defendants was a

proximate cause of the injuries and damages suffered by the Plaintiffs’ Minors herein

as non-exhaustively described in ¶¶ 114-116, supa.




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      162. Governmental immunity for individual governmental actors pursuant

to MCL 691.1407(2) does not apply to this claim because it is statutorily created and

does not sound in tort.

      WHEREFORE, Plaintiffs claim judgment against the individual government

Defendants in an amount to which they are found to be entitled, together with

interest, costs, attorneys’ fees, exemplary damages and punitive damages.

                                              Respectfully submitted,
                                              Giroux Trial Attorneys, P.C.

Dated: February 24, 2022                      /s/ Robert M. Giroux
                                              ROBERT M. GIROUX (P47966)
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                                 JURY DEMAND

      Plaintiffs NICOLETTE ASCIUTTO, as Next Friend for JOHN ASCIUTTO

and ANTHONY ASCIUTTO II, minors; and JOHN VACKARO as Next Friend for

MARCO VACKARO, a minor, by and through their attorneys, Giroux Trial

Attorneys, P.C., hereby demands Trial by Jury in this matter on all issues so triable.

                                              Respectfully submitted,
                                              Giroux Trial Attorneys, P.C.

Dated: February 24, 2022                      /s/ Robert M. Giroux
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